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                                                               United States Bankruptcy Court
                                                                          District of Nevada
 In re      RANCHO DESTINO INV LLC                                                                       Case No.   21-10057
                                                                                 Debtor(s)               Chapter    11



                                                                     CERTIFICATE OF SERVICE
I hereby certify that on , a copy of Motion to Sell Real Property, Notice, Proposed Order, Settlement Statement, Offer,
Declaration to sell property and Application to Employ Real Estate Agent for Debtor, Notice, Proposed Order, Declaration of
Agent was served electronically or by regular United States FIRST CLASS mail to all interested parties, the
Trustee and all creditors listed below.




 I declare under Penalty of Perjury that the foregoing is true and correct.




                                                                               Tamlyn Tokuda, Receptionist
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